                Case 13-15529
0005-33-EPIM33-00105439-198786    Doc 145       Filed 10/19/18 Entered 10/19/18 08:39:38               Desc Main
                                                 Document     Page 1 of 2
                            UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF MASSACHUSETTS
                                                   BOSTON DIVISION


In re: CLAUDIA O BACELAR                                                                Case No.: 13-15529-JNF

       Debtor(s)                                                                        Chapter 13 Bankruptcy


                                       NOTICE OF FINAL CURE PAYMENT

            Pursuant to Federal Bankruptcy Rule 3002.1(f), the Trustee files Notice that the amount required to
      cure the default in the below claim has been paid in full and that the Debtor(s) have completed all payments
      under the plan.

      Name of Creditor:    US BANK TRUST NATIONAL
      Trustee Claim No.: 008

      Last four (4) digits of any number used to identify the Debtor's account: 5352

      Final Cure Amount:

           Amount of Allowed Pre-Petition Arrearage: $37,391.06

           Amount Paid by Trustee:                      $37,391.06


      Monthly Ongoing Mortgage Payment is Paid:

                   Through the Chapter 13 Trustee conduit               X   Direct by the Debtor



            Within 21 days of the service of this Notice, the creditor must file and serve same on the Debtor(s),
      Debtor's counsel and the Trustee, pursuant to Federal Bankruptcy Rule 3002.1(g), a Statement indicating
      whether it agrees that the Debtor has paid in full the amount required to cure the default and whether,
      consistent with the Bankruptcy Code section 1322(b)(5), the Debtor is otherwise current on all the payments
      or be subject to further action of the Court including possible sanctions.


      Dated: 10/19/2018                                     Respectfully submitted:


                                                             /s/ Carolyn A. Bankowski
                                                            Chapter 13 Trustee
               Case 13-15529       Doc 145      Filed 10/19/18       Entered 10/19/18 08:39:38          Desc Main
0005-33-EPIM33-00105439-449434   United States Bankruptcy
                                         Document Page 2 of 2 Court
                                              DISTRICT OF MASSACHUSETTS
                                                    BOSTON DIVISION

In Re:                                                                                          CASE NO: 13-15529-JNF
CLAUDIA O BACELAR



                                                  Certificate of Service

       The undersigned hereby certifies that on this date a copy of the Trustee's Notice of Final Cure Payment was served via
first class mail postage prepaid, or by electronic notice, upon the debtor, debtor's counsel and creditor at the addresses set
forth below.

LAUREL E. BRETTA, ESQ.
BRETTA LAW ADVISORS, P.C. 77 MYSTIC AVENUE, P.O. BOX 110 MEDFORD, MA 02155
CLAUDIA O BACELAR
7 BUXTON STREET PEABODY, MA 01960
US BANK TRUST NATIONAL
C/O SN SERVICING CORP 323 5TH ST EUREKA, CA 95501




Dated: 10/19/2018                                                          /s/ Carolyn A. Bankowski
                                                                           Chapter 13 Trustee
